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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

PABLO EFRAIN OBANDO CUELLAR,


v.                                          Case No. 8:02-cr-64-T-24EAJ
                                                     8:05-cv-1943-T-24EAJ

UNITED STATES OF AMERICA.


                                             ORDER

       This cause is before the Court on Defendant's 28 U.S.C. § 2255 motion to vacate,

set aside, or correct an allegedly illegal sentence. (Doc. cv-1; cr-318).

                                          BACKGROUND

       On July 16, 2002, Defendant pled guilty to counts one and two of the first

superseding indictment.1 (Doc. cr-44, cr-290 at 9-10). Count one charged that from an

unknown date through on or about February 11, 2002, while on board a vessel subject to

the jurisdiction of the United States, the Defendants:

              each of whom was first brought into the United States at a point in the
       Middle District of Florida, did knowingly and intentionally, while aiding and
       abetting each other and other persons unknown to the Grand Jury, possess
       with the intent to distribute five (5) kilograms or more of a mixture or
       substance containing a detectable amount of cocaine, a schedule II narcotic
       controlled substance.

             All in violation of Title 46 Appendix, United States Code, Sections
       1903(a) and 1903(g); Title 18 United States Code, Section 2; and Title 21
       United States Code, Section 841(b)(1)(A)(ii).

       Count two charged that from an unknown date through on or about February 19,

2002, while aboard a vessel subject to the jurisdiction of the United States, the Defendants:



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               Defendant's plea was an open plea. There was no written plea agreement.
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              each of whom was first brought into the United States at a point in the
       Middle District of Florida, did knowingly and willfully combine, conspire, and
       agree with each other and with other persons unknown to the Grand Jury,
       to possess with the intent to distribute five (5) kilograms or more of mixture
       or substance containing a detectable amount of cocaine, a schedule II
       controlled substance, contrary to the provisions of Title 46, Appendix, United
       States Code, Section 1903(a).

             All in violation of Title 46 Appendix, United States Code, Sections
       1903(a), 1903(g) and 1903(j); and Title 21 United States Code, Section
       841(b)(1)(A)(ii).

(Doc. cr-44).

       Prior to the plea, on July 11, 2002, the Government submitted a Notice of Essential

Elements and Penalties. (Doc. cr-131). This document notified Defendant that the

maximum penalty was life imprisonment on each count.             (See also, Plea Hearing

Transcript, Doc. cr-290 at 11). Subsequently, on July 12, 2002, the Government prepared

and filed an Agreed Version of the Facts (Doc. cr-146), which Defendant signed. This

Agreed Version of the Facts included the following paragraph:

               1. During January and February of 2002, Defendant PABLO EFRAIN
       OBANDO-CUELLAR (hereinafter Defendant) was a knowing and willing
       participant in the plan to smuggle approximately twelve (12) tons of cocaine
       on board the fishing vessel (F/V) Paulo and the Defendant assisted in the
       possession, with intent to distribute that shipment of cocaine. . .

       These facts were reiterated at the plea hearing and the amount of cocaine was

quantified as 506 bales with an ultimate weight of approximately twenty-five thousand one

hundred eight point four pounds. (Doc. cr-290 at 19). Defendant agreed that he did not

dispute the facts the Government set out. (Doc. cr-290 at 21).

       On October 4, 2002, the Court sentenced Defendant to 168 months incarceration

as to each count, with the sentences to run concurrently. (Doc. cr-199; cr-253 at 23).

Judgment was entered. (Doc. cr-203).

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       Defendant timely appealed, raising one claim: the district court committed plain error

by failing to inform him that he had a right against compelled self-incrimination. As a result,

he alleged that the plea colloquy was legally insufficient because the district court did not

advise him that he had a right to remain silent, to decline to testify on his own behalf, and

to avoid being subjected to cross-examination. Further, Obando concluded that he did not

knowingly waive his right to a jury trial because he was not told what the consequences of

proceeding to trial would entail. (Doc. cr-308 at 9). In essence, he alleged that his plea was

involuntary.

       On July 19, 2004, the Eleventh Circuit affirmed the conviction and sentence. (Doc.

cr-308 at 11). On October 13, 2005, Defendant timely filed the present motion to vacate,

raising four grounds for relief.

                                       DISCUSSION

       A review of the record demonstrates that, for the following reasons, Defendant's

motion to vacate must be DENIED.

                                        Ground One

       Defendant alleges that his sentence was imposed in violation of his Sixth

Amendment rights in Apprendi v. New Jersey, 530 U.S. 466 (2000). In support, Defendant

contends that his sentence was enhanced based upon improper judicial fact-finding. He

alleges that he was illegally sentenced for drug amounts not charged in the indictment or

proved to a jury beyond a reasonable doubt.

       This claim has no merit. The Court sentenced Defendant to 168 months

imprisonment on each of two counts with the sentences to run concurrently. This sentence

is below the statutory maximum sentence, which was life. In Harris v. United States, 536

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U.S. 545, 565 (2002), United States Supreme Court Justice Scalia stated, in a concurring

opinion:

               . . . [A]s Apprendi noted, "nothing in this history suggests that it is
       impermissible for judges to exercise discretion--taking into consideration
       various factors relating both to offense and offender--in imposing a judgment
       within the range." Id., at 481, 120 S.Ct. 2348. That is also why, as McMillan
       noted, nothing in this history suggests that it is impermissible for judges to
       find facts that give rise to a mandatory minimum sentence below "the
       maximum penalty for the crime committed." 477 U.S., at 87-88, 106 S.Ct.
       2411. In both instances the judicial factfinding does not "expose a defendant
       to a punishment greater than that otherwise legally prescribed." Apprendi,
       supra, at 483, n. 10, 120 S.Ct. 2348. Whether chosen by the judge or the
       legislature, the facts guiding judicial discretion below the statutory maximum
       need not be alleged in the indictment, submitted to the jury, or proved beyond
       a reasonable doubt. . . The judge may impose the minimum, the maximum,
       or any other sentence within the range without . . . contradicting Apprendi.

       Defendant has not alleged any facts to support his claim that his sentence was

imposed in violation of the Sixth Amendment, and ground one does not warrant relief.

                                        Ground Two

       Defendant alleges that he was denied his Sixth Amendment right to effective

assistance of counsel because counsel failed to raise an Apprendi issue at sentencing.

This claim has no merit because there was no Apprendi issue to raise. Defendant Obando-

Cuellar admitted the facts on which his sentence was based. See Harris, supra; United

States v. McKinney, 339 F. Supp. 2d 1314, 1317 (N.D. Fla. 2004)(the statutory maximum

for Apprendi purposes is the maximum sentence a judge may impose solely on the basis

of the facts reflected in the jury verdict or admitted by the defendant).

       To prevail on a claim of ineffective assistance of counsel, the Defendant must

establish deficient performance and resulting prejudice. Strickland v. Washington, 466 U.S.

668, 688 (1984). Defendant has not alleged facts to prevail on either prong of the


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Strickland test and ground two does not warrant relief.

                                        Ground Three

        Defendant claims counsel was ineffective for failing to raise an Apprendi issue on

appeal and that his plea was not knowing and voluntary. The Eleventh Circuit has set forth

the applicable legal principles for reviewing a claim of ineffective assistance of appellate

counsel. Heath v. Jones, 941 F.2d 1126, 1130 (11th Cir. 1991)(Strickland standard applies

to ineffective assistance of appellate counsel claims), cert. denied, 502 U.S. 1077 (1992).

               The Supreme Court, on at least two occasions, has had an opportunity
        to explain the parameters of what constitutes a reasonable strategy for
        appellate advocates. In Jones v. Barnes, 463 U.S. 745, 103 S.Ct. 3308, 77
        L.Ed.2d 987 (1983), the Court held that the Sixth Amendment does not
        require appellate advocates to raise every non-frivolous issue. The Court
        suggested that effective advocates "winnow out" weaker arguments even
        though the weaker arguments may be meritorious. Id. at 751-52, 103 S.Ct.
        at 3313. The Court in Smith v. Murray, 477 U.S. 527, 106 S.Ct. 2661, 91
        L.Ed.2d 434 (1986), held that an appellate advocate who reviewed the entire
        record, thought about various claims, and then chose to pursue thirteen
        claims on appeal had furnished effective appellate assistance. The Court
        recognized that even though a non-appealed issue might have been
        successful, the appellate advocacy had to be judged in its entirety.

Heath, 941 F.2d at 1130-31.

        Further, the Court has set forth the analysis for the prejudice prong of the two-part

test:

        A petitioner has satisfied the prejudice prong of Strickland when he or she
        can show that the appellate counsel's performance was sufficiently deficient
        to deprive the defendant of "a trial [or an appeal] whose result [was] reliable."
        Strickland, 466 U.S. at 687, 104 S.Ct. at 2064. In the context of an
        ineffective assistance on appeal claim, this Court in Cross v. United States,
        893 F.2d 1287 (11th Cir. 1990), held that in order to determine prejudice the
        court must first perform "a review of the merits of the [omitted or poorly
        presented] claim." Id. at 1290. If the Court finds that the neglected claim
        would have a reasonable probability of success on appeal, then according to
        Cross it is necessary to find "appellate counsel's performance prejudicial
        because it affected the outcome of the appeal." Id.

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Id. at 1132.

       Defendant cannot show that counsel's performance was deficient or that Defendant

was prejudiced for counsel's failing to raise the Apprendi issue on appeal because there

was no viable Apprendi claim for appeal. (See above).

                                 Involuntary Plea Claim

       Defendant's claim that his plea was not knowing and voluntary is procedurally barred

because he raised the claim on direct appeal. Generally, claims raised and disposed of in

a previous appeal are precluded from reconsideration in a Section 2255 proceeding. Davis

v. United States, 417 U.S. 333 (1974); United States v. Rowan, 663 F.2d 1034, 1035 (11th

Cir. 1981). “Once a matter has been decided adversely to a defendant on direct appeal, it

cannot be re-litigated in a collateral attack under section 2255.” United States v. Nyhuis,

211 F.3d 1340, 1343 (11th Cir. 2000) (quoting United States v. Natelli, 553 F.2d 5, 7 (2d

Cir. 1977)); see also Olmstead v. United States, 55 F.3d 316, 319 (7th Cir. 1995) (section

2255 motion is “neither a recapitulation of nor a substitute” for direct appeal; absent

changed circumstances of fact or law, court will not reconsider an issue already decided

on direct appeal). Defendant has established no extraordinary circumstances that would

justify reconsideration of this claim. See Schlup v. Delo, 513 U.S. 298 (1995); Davis v.

United States, 417 U.S. 333 (1974). Therefore, Defendant’s claim is procedurally barred.

       Finally, the United States Supreme Court discussed and explained Apprendi and

Blakely v. Washington, 542 U.S. 296 (2004) in United States v. Booker, 125 S.Ct. 738

(2005). Booker, Blakely, and Apprendi are not retroactive on collateral attack. See Varela

v. United States, 400 F.3d 864, 868 (11th Cir. 2005).

       Accordingly, the Court orders:

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      That Defendant's 28 U.S.C. § 2255 motion to vacate (Doc. cv-1; cr-318) is denied,

with prejudice. The Clerk is directed to enter judgment against Obando-Cuellar in the civil

case and to close that case.

      ORDERED at Tampa, Florida, on November 14, 2005.




AUSA: W. Stephen Muldrow

Pro se: Pablo Efrain Obando Cuellar




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